              Case 12-12626-reg        Doc 116     Filed 03/08/18     Page 1 of 6




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

In re: HAZEL MURDOCK LAWSON                  §       Case No. 12-12626
                                             §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Debra L. Miller, Trustee, Chapter 13 Trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as
follows:
       1) The case was filed on 08/08/2012.

       2) The plan was confirmed on 11/13/2012.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          06/26/2014, 06/24/2015, 02/22/2017, 04/10/2017.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on 11/07/2014, 05/09/2016.

       5) The case was completed on 01/08/2018.

       6) Number of months from filing or conversion to last payment: 65.

       7) Number of months case was pending: 67.

       8) Total value of assets abandoned by court order: $57,600.00.

       9) Total value of assets exempted: $1,200.00.

       10) Amount of unsecured claims discharged without full payment: $16,642.74.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




UST Form 101-13-FR-S (9/1/2009)
              Case 12-12626-reg        Doc 116      Filed 03/08/18      Page 2 of 6




Receipts:
      Total paid by or on behalf of the debtor(s)            $ 29,981.36
      Less amount refunded to debtor(s)                         $ 101.98
NET RECEIPTS                                                                        $ 29,879.38



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                  $ 6,483.67
       Court Costs                                                 $ 0.00
       Trustee Expenses & Compensation                        $ 1,490.37
       Other                                                    $ 117.50

TOTAL EXPENSES OF ADMINISTRATION                                                      $ 8,091.54

Attorney fees paid and disclosed by debtor(s):                       $ 0.00



Scheduled Creditors:
Creditor                                        Claim        Claim          Claim    Principal     Interest
Name                               Class    Scheduled     Asserted       Allowed         Paid         Paid
RANDALL BRIAN STILES               Lgl           0.00     4,000.00       4,000.00    4,000.00         0.00
STANDING CHAPTER 13 TRUSTEE        Adm           0.00       117.50         117.50      117.50         0.00
OCWEN LOAN SERVICING LLC           Con      45,000.00    77,699.57      77,699.57   15,745.83         0.00
AMERICREDIT FINANCIAL              Sec       7,956.00     5,600.00       5,600.00    2,800.38       517.02
AMERICREDIT FINANCIAL              Uns           0.00     2,294.74       2,294.74        0.00         0.00
AARP MEDICARE RX PREFERRED         Uns         345.00          NA             NA         0.00         0.00
AARP MEDICARE RX PREFERRED         Uns         276.00          NA             NA         0.00         0.00
AARP MEDICARE RX PREFERRED         Uns         311.00          NA             NA         0.00         0.00
AARP MEDICARE RX PREFERRED         Uns         414.00          NA             NA         0.00         0.00
AFNI                               Uns         386.00          NA             NA         0.00         0.00
AMC MORTGAGE                       Uns           0.00          NA             NA         0.00         0.00
AMERICREDIT                        Uns       7,750.00          NA             NA         0.00         0.00
ANTHONY MEDICAL ASSOC              Uns           0.00          NA             NA         0.00         0.00
AARON RENTALS INC                  Uns           0.00          NA             NA         0.00         0.00
CAPITAL ONE                        Uns           0.00          NA             NA         0.00         0.00
CBCS                               Uns         294.00          NA             NA         0.00         0.00
CHECKSMART                         Uns          76.00          NA             NA         0.00         0.00
CNAC                               Uns           0.00          NA             NA         0.00         0.00



UST Form 101-13-FR-S (9/1/2009)
              Case 12-12626-reg       Doc 116    Filed 03/08/18   Page 3 of 6




Scheduled Creditors:
Creditor                                      Claim      Claim      Claim       Principal   Interest
Name                              Class   Scheduled    Asserted   Allowed           Paid       Paid
CNAC                              Uns          0.00        NA         NA            0.00       0.00
CNAC                              Uns          0.00        NA         NA            0.00       0.00
COMCAST                           Uns        113.00        NA         NA            0.00       0.00
CPS                               Uns          0.00        NA         NA            0.00       0.00
ENHANCED RECOVERY CORP            Uns        386.00        NA         NA            0.00       0.00
FIRST PREMIER BANK                Uns          0.00        NA         NA            0.00       0.00
HARRIS & HARRIS LTD               Uns         60.00        NA         NA            0.00       0.00
HOMEQ                             Uns          0.00        NA         NA            0.00       0.00
LEADING EDGE RECOVERY             Uns        299.00        NA         NA            0.00       0.00
NEIGHBORHOOD DENTAL CLINIC        Uns        169.00        NA         NA            0.00       0.00
NEIGHBORHOOD DENTAL CLINIC        Uns         41.00        NA         NA            0.00       0.00
NEIGHBORHOOD DENTAL CLINIC        Uns        229.00        NA         NA            0.00       0.00
NEIGHBORHOOD DENTAL CLINIC        Uns         94.00        NA         NA            0.00       0.00
NEIGHBORHOOD DENTAL CLINIC        Uns        143.00        NA         NA            0.00       0.00
NEIGHBORHOOD DENTAL CLINIC        Uns        235.00        NA         NA            0.00       0.00
NEIGHBORHOOD DENTAL CLINIC        Uns        182.00        NA         NA            0.00       0.00
NEIGHBORHOOD HEALTH CLINIC,       Uns         40.00        NA         NA            0.00       0.00
NEIGHBORHOOD HEALTH CLINIC,       Uns        146.00        NA         NA            0.00       0.00
NEIGHBORHOOD HEALTH CLINIC,       Uns        130.00        NA         NA            0.00       0.00
NEIGHBORHOOD HEALTH CLINIC,       Uns        130.00        NA         NA            0.00       0.00
NEIGHBORHOOD HEALTH CLINIC,       Uns        151.00        NA         NA            0.00       0.00
NIPSCO                            Uns         27.00        NA         NA            0.00       0.00
PARKVIEW HOSPITAL                 Uns        135.00        NA         NA            0.00       0.00
PENN CREDIT CORPORATION           Uns        271.00        NA         NA            0.00       0.00
PIONEER CREDIT                    Uns          0.00        NA         NA            0.00       0.00
PIONEER CREDIT RECOVERY           Uns        721.00        NA         NA            0.00       0.00
PNC BANK                          Uns        545.00        NA         NA            0.00       0.00
PROFESSIONAL RECOVERY             Uns          0.00        NA         NA            0.00       0.00
PROFESSIONAL RECOVERY             Uns          0.00        NA         NA            0.00       0.00
PROFESSIONAL RECOVERY             Uns          0.00        NA         NA            0.00       0.00
PROFESSIONAL RECOVERY             Uns          0.00        NA         NA            0.00       0.00
PROFESSIONAL RECOVERY             Uns          0.00        NA         NA            0.00       0.00
PROFESSIONAL RECOVERY             Uns        162.00        NA         NA            0.00       0.00
SEAWEST FIN                       Uns          0.00        NA         NA            0.00       0.00
SUMMIT MEDICAL ASSOCIATES         Uns          0.00        NA         NA            0.00       0.00




UST Form 101-13-FR-S (9/1/2009)
              Case 12-12626-reg       Doc 116    Filed 03/08/18   Page 4 of 6




Scheduled Creditors:
Creditor                                      Claim       Claim      Claim      Principal   Interest
Name                              Class   Scheduled    Asserted   Allowed           Paid       Paid
TELECHECK RECOVERY SERVICES       Uns          0.00         NA         NA           0.00       0.00
TRANSAMERICA LIFE INSURANCE       Uns         87.00         NA         NA           0.00       0.00
WALMART                           Uns          0.00         NA         NA           0.00       0.00
INTERNAL REVENUE SERVICE          Uns        135.00        0.00       0.00          0.00       0.00
ALLEN COUNTY TREASURER            Sec          0.00      257.89     257.89          0.00       0.00
OCWEN LOAN SERVICING LLC          Sec          0.00    3,503.18   3,503.18      1,529.06       0.00
CHECK INTO CASH, INC              Uns          0.00      184.00     184.00        184.00       0.00
JEFFREY S ARNOLD                  Lgl          0.00         NA         NA           0.00       0.00
JEFFREY S ARNOLD                  Lgl          0.00      420.63     420.63        420.63       0.00
AMERICREDIT FINANCIAL             Uns          0.00    1,011.55   1,011.55      1,011.55       0.00
JEFFREY S ARNOLD                  Lgl          0.00    2,063.04   2,063.04      2,063.04       0.00




UST Form 101-13-FR-S (9/1/2009)
              Case 12-12626-reg      Doc 116     Filed 03/08/18   Page 5 of 6




Summary of Disbursements to Creditors:

                                               Claim               Principal     Interest
                                               Allowed             Paid          Paid
Secured Payments:
      Mortgage Ongoing                         $ 77,699.57        $ 15,745.83        $ 0.00
      Mortgage Arrearage                             $ 0.00             $ 0.00       $ 0.00
      Debt Secured by Vehicle                   $ 5,600.00         $ 2,800.38     $ 517.02
      All Other Secured                         $ 3,761.07         $ 1,529.06        $ 0.00
TOTAL SECURED:                                 $ 87,060.64        $ 20,075.27     $ 517.02

Priority Unsecured Payments:
        Domestic Support Arrearage                  $ 0.00             $ 0.00        $ 0.00
        Domestic Support Ongoing                    $ 0.00             $ 0.00        $ 0.00
        All Other Priority                          $ 0.00             $ 0.00        $ 0.00
TOTAL PRIORITY:                                     $ 0.00             $ 0.00        $ 0.00

GENERAL UNSECURED PAYMENTS:                     $ 3,490.29         $ 1,195.55        $ 0.00



Disbursements:

       Expenses of Administration               $ 8,091.54
       Disbursements to Creditors              $ 21,787.84

TOTAL DISBURSEMENTS:                                              $ 29,879.38




UST Form 101-13-FR-S (9/1/2009)
                Case 12-12626-reg         Doc 116      Filed 03/08/18      Page 6 of 6




        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 03/08/2018                        By: /s/ Debra L. Miller
                                                 Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
